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WAWD - Certificate of Services (Revised 3/2021)

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Christopher C. Johnson

Plaintiff(s),
a CASE NO.
Suat te Credit Services Ewe,
CASWE DWE TEL Compery THe, CERTIFICATE OF SERVICE
Credit rags emear bf.
Defendant(s).
I hereby certify that on , L electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:

And I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants: i¢
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(Sign or use a “s/” and your name

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Name, Address and Phone Number of Counsel or Pro Se

CERTIFICATE OF SERVICE - 1

